     Case: 1:14-cr-00674 Document #: 66 Filed: 10/12/15 Page 1 of 5 PageID #:264



                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

UNITED STATES OF AMERICA
                                                     No. 14 CR 674
               v.
                                                     Judge Virginia M. Kendall
ALDO BROWN


                 GOVERNMENT’S RESPONSE TO DEFENDANT’S
                      MOTIONS IN LIMINE [DOC. #63]

         The UNITED STATES OF AMERICA, by its attorney, ZACHARY T.

FARDON, United States Attorney for the Northern District of Illinois, hereby

submits the following responses to defendant’s motions in limine. (Doc. #63.)

    I.     The Motion Regarding Opinion Testimony On Use of Force

         This motion should be denied as moot. The government agrees that opinion

testimony regarding the reasonableness of the defendant’s use of force is not proper

and should be excluded at trial. Indeed, the government has moved to exclude

defendant’s proposed expert, in part, on this basis. “The question of whether a

police officer has used excessive force in arresting a suspect is a fact-intensive

inquiry turning on the reasonableness of the particular officer’s actions in light of

the particular facts and circumstances of the situation faced.” Thompson v. City of

Chicago, 472 F.3d 444, 458 (7th Cir. 2006). Therefore, opinion testimony regarding

reasonableness should not be permitted at trial.1 It is proper, however, for the



1 In the event that this Court finds that opinion testimony regarding the reasonableness of
defendant’s use of force should be admitted at trial, the government – out of an abundance of caution
– did disclose one witness as an expert on the use of force.


                                                 1
       Case: 1:14-cr-00674 Document #: 66 Filed: 10/12/15 Page 2 of 5 PageID #:265



government to ask witnesses regarding the particular facts and circumstances of

the situation. Id.

II.      Motion to Exclude References to Citizen Complaints, Disciplinary
         Proceedings, Civil Settlements, or Lawsuits Involving the Defendant.

         The government does not intend to introduce evidence in its case-in-chief

regarding citizen complaints, disciplinary proceedings, or lawsuits involving the

defendant. However, the government anticipates that the defense will ask several

witnesses questions on cross-examination regarding a lawsuit, filed against the City

of Chicago (as a result of the specific incident described in the indictment) and a

subsequent settlement agreement, in order to suggest a bias or interest by the

witnesses who were plaintiffs in that lawsuit.       If the defense intends to cross-

examine witnesses on this lawsuit, then the government should be allowed to

address the lawsuit directly during its direct examination. If the defense does not

intend to question any of the witnesses regarding the lawsuit or settlement, then

the government will not elicit this information. As of this time, the defense has not

identified its position. Therefore, the motion should be denied with respect to the

specific lawsuit at this time.

      III.   Motion Regarding “Disparaging, Inflammatory, and Conclusory
             Labels”

         The government will abide by its ethical obligations during arguments at the

trial, therefore this motion should be denied as moot. See United States v. Durham,

211 F.3d 437, 440 (7th Cir. 2000) (“We have held that so long as the evidence

supports the comments, prosecutors may speak harshly about the actions and




                                           2
    Case: 1:14-cr-00674 Document #: 66 Filed: 10/12/15 Page 3 of 5 PageID #:266



conduct of the accused.”) Furthermore, defendant’s motion is generalized and vague

and should also be denied on this ground.

   IV.      Motion Regarding the Vouching of Witnesses

         This motion should be denied as moot because government acknowledges

that may not improperly vouch for the credibility of its witnesses. Specifically, the

Seventh Circuit has held that “[i]t is improper for a prosecutor to express her

personal belief in the truthfulness of a witness, and it is improper for a prosecutor

to imply that facts not before the jury lend a witness credibility.” United States v.

Renteria, 106 F.3d 765, 767 (7th Cir. 1997). However, the government is permitted

to respond to specific defense arguments regarding credibility of witnesses.

   V.       Motion Regarding the “Bolstering” of Witnesses

   The government objects to this motion. The government is permitted to present

evidence corroborating its witnesses’ testimony so long as this evidence is

admissible under the Rules of Evidence. Accordingly, this motion should be denied.

   VI.      Motion Regarding Defendant’s Street Name Or Nickname

   The government will not elicit evidence of defendant’s street name or nickname.

Therefore, the motion should be denied as moot.

   VII.     Motion Regarding Other Police Misconduct

         The government will not present evidence of, or argue, instances of other

police misconduct. Therefore, the motion should be denied as moot.




                                            3
    Case: 1:14-cr-00674 Document #: 66 Filed: 10/12/15 Page 4 of 5 PageID #:267



   VIII. Motion Regarding Prior Dealings Between the Defendant and the
         Victim

         The government will not present evidence regarding any prior dealings

between the victim and the defendant unless invited by the defense. Specifically,

Victim A has identified a prior incident in which the defendant beat up Victim A’s

brother. The government does not intend to elicit any testimony regarding the prior

incident with Victim A’s brother, unless it becomes relevant as a result of cross-

examination questions.

   IX.      Motion Regarding the Outcome of Victim A’s Criminal Case

         The government objects to this motion because the outcome of Victim A’s

criminal case is relevant to the question of Victim A’s bias against the defendant.

Specifically, the charges against Victim A were dismissed.           Furthermore, the

government is admitting into evidence the arrest report of the incident, which is the

basis of the charges in Counts Two and Three. Therefore, the jury will be aware

that Victim A was arrested and charged with three offenses as a result of the

incident.    Omitting the outcome of the criminal case creates a serious risk of

confusion and incorrect inferences by the jury, which could adversely affect both the

government and the defense. In other words, concealing this information from the

jury would create a situation where the jury may incorrectly infer: (a) that Victim A

is a convicted felon as a result of the defendant’s conduct, (b) that Victim A is biased

against the defendant as a result of the outcome of the criminal case, and (c) that

the reasonableness of defendant’s conduct was previously litigated in the state case.

Indeed, the Seventh Circuit Pattern Instruction 3.01 instructs witnesses to consider



                                           4
    Case: 1:14-cr-00674 Document #: 66 Filed: 10/12/15 Page 5 of 5 PageID #:268



“[w]hether the witness had any bias, prejudice, or other reason to lie or slant the

testimony” (emphasis added).

        All of these inferences would be improper and prejudicial. Therefore, in order

to avoid confusion, the government proposes it should be allowed to address the

outcome of the criminal case with Victim A and the jury should be specifically

instructed that they should not speculate regarding the reason or reasons why the

criminal case was dismissed and that the jury should not consider this in their

deliberations.

   X.      Conclusion

        For the reasons set forth above, defendant’s motion should be denied.



                                        Respectfully submitted,

                                        ZACHARY T. FARDON
                                        United States Attorney

                                  By:   /s/ Jessica Romero
                                        JESSICA ROMERO
                                        LINDSAY JENKINS
                                        Assistant U.S. Attorney
                                        219 South Dearborn St., Rm. 500
                                        Chicago, Illinois 60604
                                        (312) 353-4137




                                           5
